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                                                        Filed: December 12, 2007


                            UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT

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                              TRANSCRIPT SANCTION NOTICE
                                TWENTY PERCENT SANCTION

                                  ___________________

               No. 07-4059 (L), US v. Learley R. Goodwin
                                8:04-cr-00235-RWT

              The transcript in this case is overdue by more than 30

        days, requiring that the court reporter reduce the fee charged

        for preparation of the transcript by 20%, in accordance with the

        Guidelines for Preparation of Appellate Transcripts in the

        Fourth Circuit. The Court therefore directs the court reporter

        to file a transcript sanction certification form with this Court

        when the transcript is filed with the District Court, certifying

        that the 20% sanction has been taken on the transcript fees

        charged in this case. The certification form is attached to this

        notice and is available at www.ca4.uscourts.gov.

              Should the transcript become more than 60 days overdue, the

        Guidelines provide that notice of the default and of the

        Guidlines' provision for removal of a court reporter from the

        courtroom if the transcript becomes 90 days overdue will be
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        provided to the Chief District Judge and the Judge to whom the

        court reporter reports.

                                                      PATRICIA S. CONNOR
                                                           CLERK
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                            UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT


                             TRANSCRIPT CERTIFICATION FORM




         Appeal Number:
         Caption:

         Court Reporter:

         Proceedings:




         Date Due:

         Date Filed:

         Percent Sanction Taken:

         Signature:

         Date:
